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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO
UNITED STATES OF AMERICA,

Plaintiff,

v.
                                                  Crim. No. 14-0754(DRD)
FELIPE GOMEZ-ENCARNACION,

Defendant.


                              OPINION AND ORDER

                              I.     BACKGROUND

     Pending    before    the      Court          is    Defendant       Felipe    Gomez-

Encarnación’s (“Defendant” or “Gomez”) request for the Court to

revisit the determination of the Honorable U.S. Magistrate Judge

Marcos E. Lopez, entered on December 30, 2014 (Docket No. 69)

after conducting a Bail Review Hearing, denying bail.

     On December 18, 2014, the Grand Jury handed down a two

count   indictment    (Docket      No.       3)    against       Defendant       charging

several drug and money laundering violations.                       Count Two of the

indictment charges Defendant with possession with the intent to

distribute a controlled substance under 21 U.S.C. § 841(a)(1)

while   Count Four charges Gomez with money laundering under 18

U.S.C. § 1956(h).

     In denying Defendant’s bail request, the Magistrate found

that: (1) there was probable cause to believe that Gomez had

committed an offense under 21 U.S.C. § 846, 841; (2) Gomez had

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failed       to    rebut        the     presumption        that     no     condition       will

reasonably assure the safety of the community; and (3) there is

a    serious      risk    that        the   Gomez   will     endanger       the    safety    of

another person or the community. See Docket No. 69.                               In arriving

at    this     determination,           the    Magistrate         Judge    relied     on    the

alleged facts that Defendant was the owner of a drug point in

Vieques, that he was seen unloading large quantities of drugs

into    a    boat,       that    Defendant      was     recorded      on    two     occasions

explaining how to load and transport drugs on the Vieques ferry

and advising a fellow member of the conspiracy not to come to

Fajardo due to police presence.                     Further, the Magistrate Judge

noted     that     Defendant          was   allegedly      involved        in   using   straw

buyers for purchasing high-end luxury vehicles to launder drug

money.      Id.

       On February 3, 2015, Defendant filed a Motion for De Novo

Review (Docket No. 138) of the Magistrate Judge’s determination

arguing, inter alias, that the Magistrate failed to hold the

government to its statutory burdens of proof.                            Defendant further

argued that there is insufficient evidence to establish by clear

and convincing evidence that                    Gomez    presents a danger to the

community.        Additionally, Defendant contends that the Magistrate

Judge     erred     in     permitting         the   United    States       to     proceed    by

proffer as opposed to live testimony.



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       On February 23, 2015, the Court held a De Novo Hearing

(Docket     Nos.    202)      where       the   Court       heard    the     arguments       from

defense     counsel      as    to    the    possible         conditions       of   bail.      The

testimony     of    Carlos     Gonzalez,            Esq.,    was    heard     on   behalf     of

defendant. The SAUSA presented the arguments as to defendant’s

role    and   presumption           for    risk     to   flight      and     danger   to      the

community.         The Court, upon listening to the parties’                             final

arguments, held in abeyance Defendant’s bail request.

                 II. BAIL REVIEW UNDER THE BAIL REFORM ACT

       Where, as here, a magistrate judge’s detention order is

contested, the Court must consider the matter de novo under the

guidelines set forth by the Bail Reform Act at 18 U.S.C. §3142.1

United States v. Tortora, 922 F.2d 880, 883 n.4 (1st Cir. 1998);

see also United States v. Torres-Rosario, 600 F.Supp.2d 327, 330

(D.P.R. 2009).          The Court proceeds accordingly.

       The Bail Reform Act sets forth four factors which the Court

must     weigh     in     determining           whether        pretrial       detention       is

1
  The Court remains cognizant that Felipe Gómez Encarnación enjoys the
presumption of innocence at this stage of the proceedings. See Bull v. City
& County of San Francisco, 595 F.3d 964, 996 (9th Cir. 2010) (“detainees
still enjoy the presumption of innocence”).     The presumption of innocence
means that the fact “[t]hat an individual is charged with a crime cannot, as
a constitutional matter, give rise to any inference that he is more likely
than any other citizen to commit a crime if he is released from custody.
Defendant is, after all, constitutionally presumed to be innocent pending
trial, and innocence can only raise an inference of innocence, not of guilt.”
United States v. Scott, 450 F.3d 863, 874 (9th Cir. 2006).      Moreover, the
Bail Reform Act explicitly provides that “[n]othing in this section shall be
construed as modifying or limiting the presumption of innocence.” 18 U.S.C. §
3142(j).   Although a pre-trial Defendant benefits from the presumption of
innocence, detention may nevertheless be warranted as “[t]he government’s
interest in preventing crime by arrestees is both legitimate and compelling.”
United States v. Salerno, 481 U.S. 739, 749 (1987).

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warranted.     They are: “(1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt or

innocence; (3) the history and characteristics of the accused,

including past conduct; and (4) the nature and gravity of the

danger posed by the person’s release.”                 Tortora, 922 F.2d at 884

(citing the factors outlined at 18 U.S.C. §3142(g)(1)-(4)); see

also United States v. Gines Perez, 152 F.Supp. 2d 137, 148 n.13

(D.P.R. 2001);     Torres-Rosario, 600 F.Supp. 2d at 330.

      However,    under     the    Bail       Reform    Act,   where       a   criminal

defendant    is   charged     with    crimes     that    reach      a   predetermined

threshold,2 including those with which Defendant is charged in




2
  Subject to rebuttal by the person, it shall be presumed that no condition or
combination of conditions will reasonably assure the appearance of the person
as required and the safety of the community if the judicial officer finds
that there is probable cause to believe that the person committed—

(A) an offense for which a maximum term of imprisonment of ten years or more
is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.), the
Controlled Substances Import and Export Act (21 U.S.C. 951 et seq.), or
chapter 705 of title 46;

(B) an offense under section 924(c), 956(a), or 2332b of this title;

(C) an offense listed in section 2332b(g)(5)(B) of title 18, United States
Code, for which a maximum term of imprisonment of 10 years or more is
prescribed;

(D) an offense under chapter 77 of this title for which a maximum term of
imprisonment of 20 years or more is prescribed; or

(E) an offense involving a minor victim under section 1201, 1591, 2241, 2242,
2244(a)(1),   2245,    2251,  2251A,   2252(a)(1),  2252(a)(2),   2252(a)(3),
2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423,
or 2425 of this title.

18 U.S.C. § 3142(e)(3).


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the instant case,3 a presumption arises “that no condition or

combination of conditions will reasonably assure the appearance

of the person as required and the safety of the community.”                         18

U.S.C. §3142(e)(3); see also Gines Perez, 152 F.Supp. 2d at 147.

The presumption, therefore, is that the criminal defendant poses

a risk both of flight prior to prosecution and a risk of danger

to the community.        United States v. Jessup, 757 F.2d 378, 384

(1st Cir. 1985), partially abrogated on other grounds by United

States v. O’Brien, 895 F.2d 810, 814 (1st Cir. 1990)(abrogating

Jessup only as to the standard of appellate review)); see also

Ginez Perez, 152 F.Supp. 2d at 147.                  “We apply a preponderance

of the evidence standard to the proof pertaining to flight risk,

but clear and convincing evidence must be introduced to support

the conclusion that a defendant’s detainment prior to trial is

necessary    to   ensure   the   safety    of       the   community.”         Torres-

Rosario, 600 F. Supp. 2d at 330 n.4 ; See United States v.

Patriarca, 948 F.2d 789, 793 (1st Cir. 1991)(preponderance of

the   evidence    to   establish    “risk       of    flight”);      18    U.S.C.   §

3142(f)(requiring      satisfaction       of    a     “clear   and        convincing”

standard of proof as to dangerousness to the community as upheld

by the U.S. Supreme Court in United States v. Salerno, 481 U.S.

739, 750 (1987)).

3
  The defendant is charged with a serious drug trafficking crime and of
possession with intent to distribute enormous quantities of drugs under 21
U.S.C. §341(a)(1) and extremely high quantities of money laundering on behalf
of the drug organization under 18 U.S.C. §1956(h).

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       Once    triggered     in   the   cases    that     reach      the   rebuttable

presumption of “danger to the community” and “flight risk,” the

defendant may rebut the presumption by producing “conflicting

evidence” to undercut the legislative purpose of the presumption

as to the risks of danger and flight.                    Id. (outlining what is

known     as   the    “intermediate     position”).4           The    defendant      is

required to produce “some evidence” to the contrary. O’Brien,

895 F.2d at 815.           However, it is not merely any evidence that

destroys the presumption since the “bursting bubble theory” was

expressly rejected by then Circuit Judge of the First Circuit

Court of Appeals Steven Breyer, in United States v. Jessup, 757

F.2d at 382-383.           The “intermediate position” adopted in Jessup

requires a defendant to produce “conflicting evidence” as to

“danger” and “flight”5 and then the Court “determine[s] on which

side    the    evidence      preponderates.”      Jessup,      757    F.2d    at     383

(citing Wright v. State Accident Insurance Fund, 289 Ore. 323,

613 P.2d 755, 759-60 (1985)).            The Court must weigh any evidence

proffered by the defendant against the presumption and evidence

produced       by    the   government   in      order     to   determine      whether

detention without bail is appropriate.                  Ginez Perez, 152 F.Supp.

2d at 147 (citing Jessup, 757 F.2d at 384); see also United

4
  Jessup,757. F. 2d at 383 (noting that “the House of Judiciary adopted this
sort of ‘intermediate position’ . . . .”).
5
  Jessup,757. F. 2d at 383 (citing the theory of Hecht and Pinzler, Rebutting
Presumptions: Order Out of Chaos, 58 B.U.L. Rev. 527 (1978)).


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States v. Villanueva-Rodriguez, 190 F.Supp. 2d 257, 259 (D.P.R.

2002).       Thus, while the burden of persuasion always rests with

the    United    States,      the    burden      of   production        shifts    to    the

defendant once the presumption is activated.                           See Jessup, 757

F.2d at 384.

       The     presumption     has     a    “significant          practical      effect.”

Jessup, 757 F.2d at 384.6                  The presumption does not shift the

burden of persuasion to the defendant, because the government

retains the burden throughout.               However, once the presumption is

triggered, the defendant is required to carry the burden of

production.        United States v. Jessup, 757 F.2d 380-384.                           The

presumption created is that “. . . no condition or combination

of    conditions    will      reasonably         assure    the    appearance      of    the

person    as    required     and     the    safety    of    the    community      if    the

judicial officer finds that there is probable cause to believe

that the person committed an offense for which a maximum term of

imprisonment       of   ten     or    more       years     is    prescribed      in     the

Controlled Substances Act, (21 U.S.C. 801 et seq.)” 18 U.S.C.

6
  In United States v. O’Brien, 895 F.2d at 814, the Circuit Court abrogated
Jessup as to the standard of appellate review. The First Circuit in O’Brien
adopted the appellate standard of review enunciated in United States v.
Bayko, 774 F. 2d 516, 520 (1st Cir. 1985), which is “an independent
review...tempered by deference to the district court’s firsthand judgment of
the situation” rather than the clearly erroneous or other highly deferential
standard utilized in Jessup, 757 F. 2d at 387-388, United States v. Fortna,
769 F. 2d 243, 250 (5th Cir. 1985), United States v. Chimurenga, 760 F. 2d
400, 405 (2d Cir. 1985), and United States v. Williams, 753 F. 2d 329, 333
(4th Cir. 1985). O’Brien, however, reiterates and follows the standard of
burden shifting, presumption and of preponderance of the evidence of Jessup
stated herein applicable for bail determinations at District Court level. 895
F.2d at 815.

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3142(e).       The    presumption         created      is,   therefore,         of     “flight

risk” and “danger” to the community.                   Jessup, 757 F.2d at 381.

      Even after a defendant has produced evidence to rebut the

presumption as to both “danger” to the community and risk of

“flight,”      “the    presumption         does     not      disappear,         but     rather

retains evidentiary weight - the amount depending on how closely

defendants’ case resembles the Congressional paradigm, Jessup,

757 F.2d at 387 - to be considered with other relevant factors.”

United States v. Palmer-Contreras, 835 F.2d 15, 17 (1st Cir.

1987).        Finally,    in     making      its       final     determination             after

receiving      the    rebuttal       pursuant     to     §3142     (g),     the       judicial

officer must consider among other statutory factors “the nature

and   circumstance       of    the    offense,”        “weight     of     the    evidence,”

“history      and    characteristics        of    the     person    including          .    .   .

character, physical and mental condition, family history . . .

past conduct” and the “danger posed to the community” by his

release. Id.

                                      III. ANALYSIS

      As an initial matter, the Court states that offenses which

carry a maximum punishment of ten years or more activate the

rebuttable presumption of detention without bail.                           See 18 U.S.C

§ 3142(e)(3)(C).         Gomez is charged with a violation of 21 U.S.C.

§ 841(a)(1), which carries a maximum prison term of ten years or

more,    as    the    quantity       of    drugs       alleged     in     the     complaint

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activates the presumption.              Thus, the rebuttable presumption of

detention without bail applies in the instant case.                            Further,

the   proffer    of    the    United    States   in    the   hearing       before     the

District     Court     reinforces       the   presence       of      the     rebuttable

presumption.7

      As stated previously, the instant case is governed by the

presumption of detention set forth under the Bail Reform Act

based on possession of narcotics with intent to distribute.                            21

U.S.C. § 841(a)(1).            The Court must, therefore, analyze the

statutory factors required under the law.                  The Court proceeds in

seriatim fashion to examine the statutory criteria at 18 U.S.C.

§ 3142(g)(1),(2),(3),(4) and then proceeds to conclude whether

the evidence preponderates towards detention or bail.

      The first two factors, which the Court will consider in

conjunction, pertain to the nature and circumstances surrounding

the   offense    and    the    weight    of   the   evidence      as    to    guilt    or

innocence.      Thus, it is imperative for the Court to analyze the

nature and circumstances surrounding the Defendant’s arrest and

the evidence obtained by the arresting officers at Defendant’s

residence.

      In the case at bar, Defendant is charged with possession of

narcotics with the intent to distribute and money laundering,


7
 Parties may offer proffers at the bail procedures pursuant to the case of
United States v. Acevedo Ramos, 255 F.2d 203, 208 (1stCir. 1985).

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charges which are unquestionably quite serious and dangerous in

nature.      Particularly,            Defendant       has     been    deemed       a    manager

within the drug organization based on his access to substantial

amounts of cash and management of approximately 3,500 kilograms

of drugs.

    Defendant has been identified by a witness with personal

knowledge of the matter as an owner of a drug point in Vieques.

A witness also proffered to having seen Defendant unloading a

truck     full    of   drugs     into     one        of     the    boats     tied       to   the

conspiracy.        Defendant has been also been recorded speaking to

other members of the organization about moving drugs on the

ferry   from      Vieques,      the    area        controlled      by      the   Defendant’s

organization. On February 3, 2012, Gomez was recorded explaining

how to load and transport drugs on the ferry from Vieques to

Fajardo.         Several weeks later, on April 11, 2012, Gomez was

recorded in a phone conversation advising Jose Silva, a fellow

member of the conspiracy and a co-Defendant of the case, not to

come to Fajardo because of an increased police presence in the

area.     Furthermore, Defendant was involved in cash transactions

to purchase luxury vehicles with values of $112,000 and $365,000

through     straw      buyers     in     order       to      launder       money       for   the

organization.

    The third factor which the Court must consider pertains to

the history and characteristics of the accused, including his

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past conduct, ties to the community, financial resources, and

employment.       This factor weighs most heavily against the accused

as he has access to large sums of cash, has drug-related ties

outside of Puerto Rico, and is self-employed as a cock-fighter

arena owner but has never filed income tax related thereto.

Furthermore, his managerial role in the conspiracy tasked him

with making critical decisions.

      Turning to the fourth and final factor in our analysis, the

nature and gravity of the danger posed by the person’s release,

the Court finds by clear and convincing evidence that Defendant

poses a flight risk should bail be granted.                       See Salerno, 481

U.S. at 750.       Not only does Gomez’s have means and motivation to

flee the jurisdiction, but his direct ties to the upper members

of   the    conspiracy        and   his        managerial     role       within      the

organization      poses   a    significant        threat     to    the    community.

Further,    and    most   critical,   the        defendant    deals      with     large

amounts of drugs and hence has direct access to foreign contacts

and has the ability to flee. See U.S. v. Jessup, 757 F.2d at 384

(“flight to avoid prosecution is particularly high among persons

charged with mayor drug offenses”).

      Accordingly, the Court agrees with Magistrate Judge Lopez’s

determination      that   Defendant       poses    a   safety      threat     to     the

community by “clear and convincing” evidence under Salerno, 481



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U.S. at 750. Therefore,         the Court determines that Defendant is

to be held without bail until trial.

                                IV.    CONCLUSION

      After     carefully     examining      all    the   evidence        and     the

pertinent factors, the Court finds that the Defendant has failed

to   rebut     the    presumption     of    presenting     a     danger     to    the

community.     Defendant cannot make a reasonable assurance that he

can satisfy the criteria of “community safety” as required under

Tortora, 922 F.2d at 892.             It is evident to the Court that,

based   on    the    government’s   proffered      evidence      detailed    above,

Defendant poses an obvious risk of flight and is a danger to the

community.      Hence, Defendant Felipe Gomez-Encarnacion is hereby

ordered to remain DETAINED WITHOUT BOND pending trial.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this 14th day of April, 2015.

                                            s/ Daniel R. Dominguez

                                            DANIEL R. DOMINGUEZ
                                            U.S. DISTRICT JUDGE




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